Case 1:17-cr-00161-TSC Document 77 Filed 08/22/18 Page 1 of 8

AO 2458 (Rev (lZ/lS) ludgmcnt m a Criminal Case
Sheet l

'UNITED STATES DISTRICT COURT

UNITED STATES OF AMERICA
v.

ll\/|RAN AVVAN

THE DEFENDANT: '

\/\./\./\_/\_/\/\./W\_/

‘ Distriet of Columbia

JUDGMENT ll\" A CRIMINAL CASE

Case Nurnber: 17-161 (TSC)

USl\/i Number: 86724-007

Christopher Gowen

F I L ED

 

 

Defendant’S Aftomey

ill pleaded guilty to count(s) 3 of the |nc|ictment filed on August 17, 2017_

 

 

E pleaded nolo contendere to count(s)

AUG 22

 

~¢J;ie¢ieueazismei

 

which was accepted by the court.

[:] was found guilty on eount(s) .

after a plea of not guilty
The defendant is adjudicated guilty ofthese offenses:

Titlc & Section Nature ofOffense

18:1014 ~ Fa|se Statement on Loan or Credit App|ication.

The defendant is sentenced as provided in pages 2 through

the Sentencing Reform Act of 1984.'

[:| The defendant has been found not guilty on count(s)

ll Count(s) 1, 2 and 4 ij is

 

j ofthisjudgment. The sentence is imposed pursuant to

MEM_EM

12/12/2016

 

M are dismissed on the motion of the United Statcs.

2018

Courts for the Dlstrlct of Co|umb|a

lt is ordered that the defendant_must notify the Un_ited States attorney for this district within 30 days of_any change of name, residence
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. lfordered to pay restitution,
the defendant must notify the conn and United States attorney of material changes in economic circumstances

 

8/21/20“| 8 f
Dale of lmposition ofJudgmenl ` _*
_ @'/l/‘Z%c

 

Date

Slgnature tjij

Tariya S. Chutkan

Au-S- Qetri<;i,§,,<>w edge

 

¢i\la¢fne¢and Title ofJudge

5[7/&()(/¢;?0/€

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AO 2453 (Rev, 02/18) .|udgrnent in Criminal Case

Sheet 2 lrnprisonmcnt

Judgment m Page *2__
DEFENDANT: |MRAN AWAN
CASE NUMBER: 17-16‘| (TSC)

lMPRISONl\/IENT

Thc defendant is hereby committed to the custody ofthe Fedcral Bureau of Prisons to be imprisoned for a total

T|l\/|E SERVED_

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody ofthe United States Marshal.

'l`he defendant shall surrender to the United States l\/larshal for this district:

[] at [] a.m. l:] p.m. on

 

,

[:l as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

E before 2 p.m. on

 

[:l as notified by the Unit'ed States Marshal.

§ as notified by the Probation or Pretrial Services Office.

RETURN

,

l have executed thisjudgment as follows:

Defendantdelivered on v to

 

j , with a certified copy of thisjudgment.

 

By

uNiTED srATEs MARSHAL

 

DEPUTY UNlTED STATES MARSHAL

Case 1:17-cr-00161-TSC Document 77 Filed 08/22/18 Page 3 of 8

AO 2458 (Rcv 02/\ 8) Judgment in a Crimmal Case
Sheet 3 j Supervised Release

 

ludgment~~Page 3 wof k_ ',igi
DEFENDANT: ||V|RAN AWAN
CASE NuiviBER; 17-161 (Tsc)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
THREE (3) MONTHS ON COUNT THREE (3).

MANDATORY CONDITl()NS

1_ You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use ofa controlled substance You must submit to one drug test within 15 days ofrelease from
imprisonment and at least two periodic drug tests thereafter, as determined by thc court.

M The above drug testing condition is suspended, based on the couit‘s determination that you
pose a low risk of future substance abuse. rcaec/.» ifapp/icab/e)
4_ [:i You must make restitution in accordance With 18 U.S.C. §§ 3663 and 3663/\ or any other statute authorizing a sentence of
l‘€SilfL|flOli. (c/'iec/t //Upp/ic:ub/e)
You must cooperate in the collection of DNA as directed by the probation officer (check i/upplicable)

lj|§~

You must comply with the requirements of the Scx ()ffendcr chistration and Notification Act (_34 U.S.C. § 20901` et seq.) as
directed by the probation officer7 the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, Work, are a student, or were convicted ofa qualifying offense. (checkijapphcable)

7_ |:\ You must participate in an approved program for domestic violence. (check i/applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page

Case 1:17-cr-00161-TSC Document 77 Filed 08/22/18 Page 4 of 8

AO 2458 (Rev 02/13) Judgment m a Criminal Case
Sheet 3A ~~ Supervised Release

 

 

JudgmentiPage w 4 7 Of j ,, 8 , ,.
DEFENDANTZ ll\/lRAN AWAN,
CASE NUMBERZ if-i@'i (TSC)

STANDARD CONDITIONS OF SUPERVISION

As pan of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to'the court about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

/\,fter initially reporting to the probation officc, you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer, and you must report to thc probation officer as instructcd.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from thc
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change lf notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware ofa change or expected change

(). You must allow the probation'of`ficer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so_ lfyou plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notify the probation officer at least 10 days before the change lf notifying the probation officer at least l()
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware ofa change or expected change

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted ofa fclony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. lf you are arrested or questioned by a law enforcement officer, you must notify thc probation officer within 72 hours.

lO. You must not own, possess, or have access to a firearm, ammunition, destructive dcvice, or dangerous weapon (i.e., anything that was
designed or was modified for the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers)

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source oi informant without
first getting the permission ofthe court

l2. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about thc risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

l3. You must follow the instructions ofthe probation officer related to thc conditions of supervision

l`\)

U.S. Probation Off`ice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overvi'ew of'Prof)a!i`on and Stipervi`sed
Re/ease Cona’i'ti`ons, available at: www.uscourts.gov.

Defendant's Signature 7 Dat€ cf § c

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AO 2453 (Rev 02/1 X) .ludgment in a Crtminal Case
Sheet 3B 4 Supérvised Rclease

ludgment~~Page 7 g 5 of 8
DEFENDANTI ll\/lRAN AVVAN
CASE NUMBERZ 17-161 (TSC)

ADDITIONAL SUPERVISED RELEASE TERMS

t The defendant shall notify the C|erk of Court for the U.S. District Court for the District of Co|umbia Within thirty (30) days
of any change of address until such time as the financial obligation is paid in full

2 The defendant shall report in person to the probation office While on supervision, he shall submit to collection of DNA,
he shall not possess a firearm or other dangerous Weapon, he shall not use or possess an illegal controlled substance, and
he shall not commit another federal, state, or local crime. The defendant shall also abide by the general conditions of
supervision adopted by the U.S.Probation Of'fice.

The probation office shall release the presentence investigation report to all appropriate agencies in order to execute the
sentence of the Court.

AOM§B(R€V 02/|8) §u§i;$mt§n§tl§]lazt;lgr§a QalSeGl-TSC Document 77 Filed 08/22/18 Page 6 of 8

Sheet 4~Probation

ludgment»-Page § Of §iA

DEFENDANT; ii\/iRAN AwAi§i
cAsE NUMBER; i7-ici (Tsc)

PROBATION

You arc hereby sentenced to probation for a term of:

Defendant is ineligible for probationl

<.,Jl\.)>_‘

.U‘P

~@@#@

' MANDATORY CONDITIONS

You must not commit another federal, state or local crime
You must not unlawfully possess a controlled substance
You must refrain from any unlawful use ofa controlled substance You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
E The above drug testing condition is suspended, based on the couit's determination that you pose a low risk of future
substance ab use (ciieck ijapplicable)
You must cooperate in the collection of DNA as directed by the probation officer. (¢heck i/appliaable)
You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, el seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside, work, are a student, or were convicted ofa qualifying offense (check i/applicable)
El You must participate in an approved program for domestic violence (check i/appliwble)
l:l You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (checkijapplicuble)

You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

lf this judgment imposes a fine, you must pay in accordance With the Schedule of Payments sheet ofthis judgment

You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments

l:l
l:l

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page

Case 1:17-cr-00161-TSC Document 77 Filed 08/22/18 Page 7 of 8

A() 2455 (Rcv. 112/18) Judgment in a Criminal Case
Sheet 5 n Criminal Monetary Penalties

 

JudgmentiPage ~`7* Of , 8
DEFENDANTZ |l\/lRAN AWAN
CASE NUMBER; 17-16‘1 (TSC)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS S 100.00 $ $ $
[l The determination ofrestitution is deferred until . An Amendea' Judgment in a Crimlnal Case (AO245C) will be entered

after such determination
[l The defendant must make restitution (including community restitution) to the following payees in the amount listed bclow.

Ifthe defendant makes a partial payment, each pa ee shall receive an approximately`jpro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 ,S, . § 3664 i), all nonfederal victims must be paid

before the United States is paid.

 

Name of Payee Total Loss** Restitution Ordered Prioritv or Percentage
To'rALs s __ O.OO 7 s 7 b 0.00

[:l Restitution amount ordered pursuant to plea agreement $

l:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(1‘). All ofthe payment options on Sheet 6 may be subject
to penalties for delinquency a'nd default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does riot have the ability to pay interest and it is ordered that:
l:l the interest requirement is waived for the [] fine lj restitution

E the interest requirement for the [:l fine ij restitution is modified as follows;

* Justice for Victims of 'l`raffickin Act of 201 5` Pub. L. No. 1 14-22.
** Findings for the total amount o losses are required under Chapters 109A, 110, 1 10A, and 1 13A ofTitle 18 for offenses committed on or
after Septembcr 13, 1994, but before April 23, 1996.

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AO 2453 (Rev 02/18) .ludgment in a Criminal Case

Sheet 6 j Schedule of Payments

 

.ludgment Page iB¢ 7 of
DEFENDANTI lMRAN AVVAN
CASE NUMBER: 17-‘161 (TSC)
SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A § Lump sum payment of$ 100-00 due immediately, balance due
§ not later than gi 7 , or
§ in accordance with § C, § D, § E, or § F below; or
13 l:l Payment to begin immediately (may be combined with [] C, l:] D, or l:l F below); or
C ij Payment in equal 7¢4» (eg, weekly, immih/_i), qiitii~zei~/_ii) installments of $ i_ over a period of
_MW*A___ (eg, months oryears), to commence ('e,g, 30 or 60 days) after the date ofthis judgment; or
D [l Payment in equal ii (e g,, weekly, month/713 quarterly installments of` S over a period of
_ (eg, months oryem's), to Commen€€ (e.g., 30 or 60 days} after release from imprisonment to a
term of supervision; or
15 § Payment during the termrof supervised release will commence within (eg, 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment ofthe defendant’s ability to pay at that time', or
1" § Speeial instructions regarding thc payment of criminal monetary pcnalties:

l 00

Unless the cou_rt has expressly ordered otherwise, ifthisjudg_ment imposes imprisonment1 pa ment ofcriminal monetary penalties is due during
the period ofimprisor_iment. All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ initiate
Financial Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

Joint and Several

Def`endant and Co-Defendant Names_ and Case Numbers (including defendant mimber), Total Amount, loint and Several Amount,
and corresponding payee, if appropriate

The defendant shall pay the cost ofprosecution.
The defendant Shall pay the following court cost(s):

The defendant shall forfeit the defendant`s interest in the following property to the United States:

l’ayments shall be applied in the following order: (l) assessment, (Z) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

